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           IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT
                    NORTHERN DIVISION
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                                    !? NOv 30 P I: cn
GERALD A. RESNICK
                                                           -     Tr'At,
       Plaintiff,                                 '


LIP                                                   Civil Action No.

CITY OF TROY, JASON REEVES, in
his official and individual capacity as the           DEMAND FOR JURY TRIAL
MAYOR OF THE CITY OF TROY,
AND ROBERT JONES, GREG MEEKS,
MARCUS PARAMORE, STEPHANIE
BAKER, WANDA HOWARD
MOULTRY, in their official and
individual capacity as THE CITY
COUNCIL OF TROY, ALABAMA

      Defendants.

                                   COMPLAINT

      Plaintiff Gerald A. Resnick ("Resnick"), for his Civil Complaint against

Defendants City of Troy ("Troy"), Mayor Jason Reeves ("Mayor Reeves"), Robert

Jones, Greg Meeks, Marcus Paramore, Stephanie Baker, and Wanda Howard

Moultry, members of the City Council of Troy, Alabama (the "City Council")

(collectively the "Defendants"), states as follows:

                                 INTRODUCTION
      1..    This case arises out of Gerald Resnick's efforts to assist Troy in

locating an electrical power provider. Southern Wholesale, a subsidiary of

Southern Company, notified Troy in 2010 that it would discontinue its practice of
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providing electric service at wholesale rates after some thirty-five years of

providing such wholesale service.

      2.     Resnick and the then Mayor of Troy, Jimmy Lunsford ("Mayor

Luns ford"), signed an agreement ("the Agreement") to pay Resnick a 2 percent

commission on any contract, including extensions and, renewals, that Troy entered

into as a result of Resnick's efforts. The Agreement further recognized that Troy

was under a duty to protect Resnick's trade secrets and confidential information

shared during the procurement of power services for Troy. Significantly, an

element of Troy's duty to protect Resnick's confidential information was its duty

not to "circumvent" the Agreement, and thus not to thereby utilize Resnick's

confidential information. The Troy City Council subsequently approved the

Agreement by a resolution on July 21, 2012. The Agreement is attached to this

Complaint as Exhibit A.

      3.     As a result of Resnick's efforts, Troy entered into an agreement with

Constellation Energy Commodities Group ("Constellation") and its affiliate Exelon

Generation Company, LLC ("Exelon"), for the provision of electric power at the

extremely favorable price of $.05 per kilowatt-hour.

      4.    The Defendants have violated the Agreement, have utilized Resñick's

confidential information to violate the non-circumvention provision, and thus have

deprived him of his valuable property without due process. Resnick seeks relief to


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protect his confidential information as well as his property interest in the income

stream represented by the 2 percent commission on the Constellation power

contract.

                    PARTIES, JURISDICTION, AND VENUE

         5.    Resnick is a resident citizen of the State of New York. He is not a

resident citizen of any other State.

         6.    The City of Troy is a municipal corporation that is incorporated under

the laws of the State of Alabama and maintains its principal place of business in

Alabama. Troy is therefore a corporate citizen of the State of Alabama, and is not

a corporate citizen of any other State.

         7.    Mayor Jason Reeves, the current Mayor of Troy, is a resident citizen

of the State of Alabama, and is not a resident citizen of any other State.

         8.    Robert Jones, a member of the City Council of Troy, is a resident

citizen of the State of Alabama, and is not a resident citizen of any other State.

         9     Greg Meeks, a member of the City Council of Troy, is a resident

citizen of the State of Alabama, and is not a resident citizen of any other State.

         10. Marcus Paramore, a member of the City Council of Troy, is a

resident citizen of the State of Alabama, and is not a resident citizen of any other

State.




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         11.   Stephanie Baker, a member of the City Council of Troy, is a resident

citizen of the State of Alabama, and is not a resident citizen of any other State.

         12.   Wanda Howard Moultry, a member of the City Council of Troy, is a

resident citizen of the State of Alabama, and is not a resident citizen of any other

State.

         13.   Troy conducts its business by act of its Mayor and the City Council.

         14.   This Court has subject matter jurisdiction over this civil action

pursuant to 28 U.S.C. § 1332(a)(1) in that there is complete diversity between all

plaintiffs and all defendants and the amount in controversy exceeds the sum or

value of $75,000.00 exclusive of interest and costs.

         15.   This Court also has subject matter jurisdiction pursuant to 28 U.S.C. §

1331, in that this civil action arises under the laws and Constitution of the United

States. Defendants have deprived Plaintiff of property without due process of law

in violation of the Fourteenth Amendment to the United States Constitution, and

Plaintiff brings this action pursuant to 42 U.S.C. § 1983.

         16.   Venue is proper in the United States District Court for the Middle

District of Alabama under 28 U.S.C. § 1391(b)(1) and (2). The Defendants all

reside in this District, and a substantial portion of the events giving rise to this

action occurred here.




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                                   BACKGROUND
       17.    Resnick is a businessperson and an attorney with extensive

experience in power generation and power purchase agreements. His experience

allows him to match the right products, services, and solutions to his customers'

specific needs.

       18.   Troy maintains a public utility service, providing electrical services to

its residents and to local industries. The city originally secured wholesale pricing

on its electric service from Southern Wholesale. In 2010, Southern Wholesale

informed Troy it would no longer provide electric service at wholesale rates and

that Alabama Power would be Troy's new service provider. The change in service

from Southern Wholesale to another vendor would have resulted in rate increases

to Troy. Adjusted for other variable costs, Troy would have experienced based on

its own review, a minimum cost increase of $27,000,000.00.

      19.    Following Southern Wholesale's announcement that it would not

continue to supply wholesale electric power, Troy entered into discussions with

Resnick to locate an alternate source for the approximately 90 Megawatts ("MW")

of electric service Troy needed.

      20.    Initially, Resnick investigated, at his own expense, the possibility of

constructing a co-generation plant to serve Troy and its industrial and residential

consumers of electrical power.
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       21.   Resnick first researched potential solutions in a gas-fired co-

generation plant, wind plant, or solar plant.

       22.    Resnick contacted major generator manufacturers such as GE and

Rolls Royce with whom he engaged in substantial discussions exploring the

possibility of building an electrical generation facility in Troy. Concurrently,

Resnick and Mayor Lunsford consulted with the Southeast Alabama Gas District

on a timeline and costs to build a new gas line to Troy.

       23.    Resnick additionally contacted the Tennessee Valley Authority, J.P.

Morgan, Goldman Sachs, and others to consider service from those entities'

generating facilities in the Southeast.

      24.     Resnick worked with local developers to budget for a generation

facility. Troy even acquired a 22-acre site to accommodate such a facility.

Ultimately, however, Resnick and Troy determined that the total cost structure for

a co-generation facility, considering construction, amortization, and other ftors,

would result in the unfavorable $.07 per kilowatt-hour price for electrical

consumers.

      25.    As a result, Troy entered into an Agreement with Resnick under

which Resnick was to locate a supplier who could provide electrical power for less

than the $.07 kilowatt-hour cost associated with a co-generation facility.
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       26.   The Agreement between Troy and Resnick included a provision

providing in part that Resnick was to receive a 2 percent commission on contracts

entered into by and between Troy and a vendor introduced by Resnick, together

with a .2 percent commission on renewals or extensions of such contracts.

Following the execution of the Agreement, Resnick made available to Troy

substantial confidential information that he had acquired during his career,

including but not limited to the identities of suppliers, the terms on which they

might supply power, and their pricing information. This information was valuable

property of Resnick.

      27.    As a result of Resnick's efforts, on December 15, 2012, Troy entered

into a contract with Constellation Energy Commodities Group ("Constellation"), an

electric service market provider. By securing a power purchase agreement

between Troy and Constellation, Resnick completed his part of the bargain, and

became entitled to a 2 percent commission on the Constellation contract and any

renewals. The income stream represented by that 2 percent commission is a

valuable property right.

      28.    Pursuant to the Agreement, Resnick utilized his knowledge and

connections for the benefit of Troy and expected to be compensated for it. The

parties intended to compensate Resnick by means of the 2 percent commission.

The intent of the parties, moreover, was to protect Resnick's property interest in his


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confidential information and knowledge and expertise, specifically his knowledge

and expertise in the electric power industry. By entering into the Agreement, Troy

recognized that Resnick had a valuable property right (1) in the income stream

represented by the 2 percent commissiOn, and (2) in the know-how and

confidential information that Resnick utilized in securing the Constellation

agreement.

      29.    Exelon Generation Company, LLC (Constellation's affiliate)

guaranteed the power purchase agreement for five years or from January 1, 2012,

to December 31, 2017.

      30.    Resnick invested substantial time and effort to create alternate

solutions and initiatives to provide the most cost-effective technologies and

services to Troy. He identified and maintained relationships with vendors to

facilitate the Troy initiative and determined resources to secure a cost-effective

solution and save Troy tens of millions of dollars annually. Resnick's business

information, customer relationships, and goodwill are of paramount significance to

his business reputation and success.

      31.    Troy provided a complete and valid Written contract executed by both

parties in which Troy agreed to keep Resnick's trade secrets and confidential

information protected and confidential during the term of the Agreement and after

with respect to renewals.


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      32.    In exchange for the disclosure of potential resources by Resnick, Troy

agreed, and the Agreement obligated Troy, to refrain from negotiating with any of

the potential resources identified by Resnick without giving Resnick prior notice of

the negotiation. Any outside negotiations would constitute a breach of the written

Agreement:

      As it pertains to a transaction contemplated herein, the City will not
      circumvent or attempt to circumvent you in connection with any
      business opportunity resulting from confidential information disclosed
      by you The parties hereto will maintain complete confidentiality
      regarding the sources and therefore will not disclose any information
      regarding such sources other than to the City's directors, officers, etc.,
      who need to know in the ordinary course of doing its business The
      participants in the proposed new power purchase agreement(s) or
      public/private joint venture recognize that the information regarding
      sources are exclusive and valuable contacts of yours and that it will
      not enter into any direct negotiations or contracts with sources
      introduced by you and Jeff Miller without full disclosure to you
      E. Non-Disclosure

      The City agrees to maintain complete confidentiality regarding the
      several parties and confidential sources introduced by you and
      therefore will not disclose any information regarding such sources
      other than to the various City officials and its directors, officers, etch,
      who need to know in the ordinary course of doing its business. The
      City firmly asserts that the Confidential information provided by you
      is valuable and proprietary to you.
(See Exhibit A (emphasis added).)

      33. In exchange for Resnick's confidential information, Troy agreed not to

utilize that information and promised that before it ever entered into negotiations
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for a new power purchase agreement with any of the sources Resnick provided, it

would give "full disclosure" to Resnick.

      34.    Nevertheless, the Defendants, acting under color of state law, have

engaged in a scheme to misappropriate Resnick's confidential information and to

deprive him of the income stream represented by the 2 percent commission.

Despite knowing that Resnick had obtained for them the lowest cost supplier in

Constellation/Exelon, the Defendants cooked up a sham request for proposal

("RFP") to create the appearance of attempting to enter into a new contract as

opposed to an extension or renewal that would implicate the non-circumvention

provision quoted above.

      35.    Thus, instead of renewing or extending the ConstellatjonlExelon

contract, the Defendants sent copies of the sham RFP to ConstellatioiilExelon and

nine other potential suppliers, knowing that the Constellation/Exelon would be the

low-cost provider and would ultimately receive the contract. Defendants did not

give Resnick full disclosure before entering into these negotiations.

      36.    Upon information and belief, acting under color of state law, the

Defendants have caused Troy to enter into a replacement contract with

ConstellatiotilExelon without any disclosure to Resnick and in violation of the

terms of the Agreement.




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      37.    The Defendants' actions are in violation of their contractual

obligations. They also constitute a deprivation of Resnick's valuable property—

consisting of the 2 percent income stream and confidential information—without

due process, and further constitute an unconstitutional taking of Resnick's personal

property.

                          FIRST CAUSE OF ACTION
                              Breach of Contract

      38.    Resnick repeats, alleges, and incorporates by reference the allegations

contained in the preceding paragraphs.

      3.9. Resnick's Agreement is a valid and enforceable contract. The

covenants in the agreement are reasonably necessary to protect legitimate

protectable interests in trade secrets, confidential information, relationships, and

goodwill.

      40.    Resnick has performed all of his obligations under the Agreement..

      41.   Troy is breaching the Agreement by circumventing Resnick in at least

one of the following ways:

      A.    By failing to provide Resnick with sufficient notification of Troy

            entering into direct negotiations with sources introduced by Resnick;

      B.    By entering into a contract with a source introduced by Resnick; and

      C.    By failing to appropriately compensate Resnick for his services.



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      42.    Because of any one of these breaches of the Agreement, Troy has

injured Resnick, and he faces irreparable injury. Resnick faces the threat of losing

his trade secrets and goodwill in amounts that may be impossible to determine;

wherefore, Renick seeks damages in an amount to be determined by a struck jury.

                         SECOND CAUSE OF ACTION
                              42 U.S.C. § 1983

      43.     Resnick re-alleges and incorporates by reference the allegations

contained inthe preceding paragraphs.

      44.     Resnick has a property right in his Agreement with Troy and a

property interest in his expectation of continued engagement with Troy as well as

the revenue streams generated by the Agreement.

      45.    Defendants' termination of Resnick's Agreement, of his expectation

of continued engagement, and of the revenue streams generated by the Agreement

has deprived Resnick of his property rights and interests.

      46.    Because Resnick is retired and his sole source of income was the

revenue generated by the Agreement, Defendants' termination is a direct violation

of his property interests without constitutionally required procedural due process.

      47.    Defendants' termination has deprived Resnick of his liberty rights.

      48.    Defendants' unlawful termination of the operation of a lawful

Agreement has deprived Resnick of revenue due to him.



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      49.    Resnick has been deprived of these rights and interests without due

process of law as Resnick was not afforded notice (as required by the Agreement)

before Defendants terminated the Agreement and negotiated with sources Resnick

provided to Defendants. Resnick has been afforded no adequate process under law.

As a result, he has been and will continue to be deprived of his rights without a

chance to be constitutionally heard and has therefore been deprived of its rights in

violation of the Fourteenth Amendment to the United States Constitution.

      50.    Defendants' termination of Resnick's Agreement is an action taken

under color of state law.

      51.    Defendants' termination of Resnick's Agreement violates his

procedural due process rights under the Fourteenth Amendment because he

possessed an expectation of continued engagement with Troy and Defendants

wrongfully terminated that engagement without notice and a hearing.

      52.    Under the Fourteenth Amendment, Resnick is entitled to be heard on

why Defendants: ' termination of Resnick's Agreement is improper before Troy,

Mayor Reeves, and the City Council further interfere with Resnick's rights.

                            THIRD CAUSE OF ACTION
                               Declaratory Judgment

      53.    Resnick re-alleges and incorporates by reference the allegations

contained in the preceding paragraphs.



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       54.    Defendants' conduct and actions are inconsistent with and contrary to

federal and Alabama law.

       55.    Resnick has suffered and will continue to suffer significant injuries

for which he has no adequate remedy if Defendants are allowed to flout the

requirements of federal and Alabama law.

       56.    Resnick is entitled to a judgment from this Court declaring that:

             •(a) Defendants improperly terminated the Agreement; and

              (b) Resnick was entitled to proper notice and a proper hearing prior

             to the termination of his Agreement with Troy.

                       FOURTH CAUSE OF ACTION
         Damages Claim under 42 U.S.C. § 1983 v. Individual Defendants

      57.     Resnick re-alleges and incorporates by reference the allegations

contained in the preceding paragraphs.

      58.     Resnick brings this damage claim against the individual Defendants

in their individual capacity.

      59.    The individual Defendants' conduct violated clearly established

constitutional and statutory rights of which a reasonable person would have

known.

      60.    The individual Defendants' conduct involved reckless or callous

indifference to the federally protected rights of Resnick.



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      61. Because of the individual Defendants' unlawful conduct, Resnick has

incurred, and continues to incur, significant damages.

                             PRAYER FOR RELIEF
      WHEREFORE, Resnick prays for the following relief:

      A. That a court order requite Troy to provide Resnick with sufficient

            notification of any Contact or any direct negotiations or contracts with

            sources introduced by Resnick pursuant to the Agreement.

      B. That Troy, along with its respective agents, employees, attorneys and

            those persons in active concert or participation with Troy, be enjoined

            by way of temporary injunction, preliminary injunction, and

            permanent injunction as follows:

             1.    From utilizing or disclosing Resnick's trade secrets and

                   confidential information,

            2.     Directly or indirectly disclosing or utilizing Resnick's trade

                   secrets and confidential information, and

            3.     Dealing directly or indirectly with parties introduced by

                   Resnick without sufficient notification to Resnick.

      C.    That Resnick be awarded compensatory damages he has suffered, and

            prospectively will suffer in an amount to be proven at trial.




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 D.   That Resnick be awarded exemplary damages as provided for under

      the law and for willful and malicious conduct.

 E.   That Resnick be awarded attorney's fees and costs of suit as permitted

      by law and pursuant to 28 U.S.C. § 1988.

 F.   For an accounting by Defendants, requiring a monthly accounting and

      verified statement of compliance with payments that are due to

      Resnick under any and all agreements and renewals of power

      purchase or other agreements with a party or parties introduced by

      Resnick.

G.    For a constructive trust for the benefit of Resnick to be imposed upon

      all funds, assets, revenues and profits Defendants have to assure

      timely payment of the consideration reserved and payable to Resnick

      pursuant to the term of the Agreement with Troy.

H.    That Resnick be awarded such other and further relief as the Court

      deems equitable and just.

                                  ,Respectfully s bmitted,


                                   WILLIAM G. SOMERVILLE
                                   DENNIS NA3ORS
                                   LAURA E. COLLINS
                                   Attorneys for Plaintiff




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